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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                               Case No: 8:19-cr-00210-T-02CPT

AYSIA PROFIT
_____________________________________/

                      ORDER DENYING
       DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE

      This matter comes to the Court on Defendant Aysia Profit’s, Motion for

Compassionate Release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). Dkt. 34. The

United States filed a response in opposition. Dkt. 37. With the benefit of full

briefing, the Court denies the Defendant’s Motion for Compassionate Release.

                                   Legal Standard

      Pursuant to 18 U.S.C. § 3582(b), a judgment of conviction that includes a

sentence of imprisonment “constitutes a final judgment and may not be modified

by a district court except in limited circumstances.” Dillon v. United States, 560

U.S. 817, 824 (2010) (internal quotations omitted). The exception in 18 U.S.C. §

3582(c)(1)(A) provides that when a defendant has exhausted his or her

administrative remedies the Court may exercise its discretion to reduce the term of

imprisonment after considering the factors set forth in 18 U.S.C. § 3553(a) if 1)

extraordinary and compelling reasons warrant such a reduction and 2) such a
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reduction is consistent with applicable policy statements. United States v. Smith,

8:17-CR-412-T-36AAS, 2020 WL 2512883, at *2 (M.D. Fla. May 15, 2020).

                                    Discussion

      On June 3, 2019, Defendant was sentenced to two years imprisonment with

one year of supervised release for violating the terms of her prior supervised

release by committing wire fraud, bank fraud, obtaining property by false

personation, making false statements, and various technical violations. Dkt. 32 at

1–4. Defendant nevertheless argues that COVID-19 presents an extraordinary and

compelling reason to reduce her sentence or transfer her to home confinement.

Dkt. 34 at 1.

      As a preliminary matter, the Government argues that this Court has no

authority to direct the Bureau of Prisons (“BOP”) to place Defendant on home

confinement. Dkt. 37 at 8–9. The Eleventh Circuit in United States v. Calderon,

801 F. App’x 730, 731–32 (11th Cir. 2020), held that district courts lack authority

to grant early release under the Second Chance Act of 2008 as amended by the

First Step Act of 2018. In reviewing a recent request for home confinement, like

the one here, this Court interpreted Calderon as meaning “the Court has no

authority to direct the [BOP] to place [the defendant] in home confinement because

such decisions are committed solely to the BOP’s discretion.” United States v.

Staltare, 8:14-CR-460-T-33TBM, 2020 WL 2331256, at *1 (M.D. Fla. May 11,


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2020) (citing Calderon, 801 F. App’x at 730). Defendant cites no authority on

which the Court can direct BOP to place her on home confinement. Dkt. 34.

Without such authority, the Court cannot grant Defendant’s request to transfer her

to home confinement.

      The Government further argues that Defendant has not exhausted her

administrative remedies and is therefore ineligible for compassionate release

consideration. Dkt. 37 at 12. While the Eleventh Circuit has not yet ruled on

whether the administrative exhaustion requirement may be waived because of the

unique circumstances of COVID-19, Courts in the Middle District of Florida have

consistently held that it may not be waived. United States v. Chappell, No. 8:10-

CR-134-T-33AEP, 2020 WL 2573404, at *2 (M.D. Fla. May 21, 2020); Smith,

2020 WL 2512883, at *5; Staltare, 2020 WL 2331256, at *2. Defendant has not

alleged that she exhausted her administrative remedies, as such this motion must be

denied. Dkt. 34.

      Even if Defendant had exhausted her administrative remedies or the Court

had authority to waive exhaustion, Defendant fails to demonstrate an extraordinary

and compelling reason to reduce her sentence. Courts have held that, “the mere

existence of COVID-19 in society and the possibility that it may spread to a

particular prison alone cannot independently justify compassionate release . . . .”

U.S. v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). Here Defendant alleges that she


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suffers from sickle cell anemia. Under the Sentencing Commission’s policy

statement, a defendant’s medical condition may create circumstances in which an

extraordinary and compelling reason to warrant reduction exists. U.S.S.G. §

1B1.13. However, Defendant does not allege that her condition is terminal or that

the steps taken by the BOP to mitigate the effects of COVID-19 have failed to

meet her needs. Dkt. 34. Thus Defendant fails to demonstrate that her condition

constitutes an extraordinary and compelling reason warranting relief. Further, the

factors set forth for consideration under 18 U.S.C. § 3553(a) only serve to

undermine Defendant’s argument. The Court therefore chooses to exercise its

discretion by denying Defendant’s motion on the merits irrespective of Defendant’s

failure to exhaust all available administrative remedies. Dkt. 37 at 12.

                                     Conclusion
      The Court denies Defendant’s Motion for Compassionate Release, Dkt. 34,

without prejudice.

      DONE AND ORDERED at Tampa, Florida, on June 10, 2020.

                                        /s/ William F. Jung
                                        WILLIAM F. JUNG
                                        UNITED STATES DISTRICT JUDGE

COPIES FURNISHED TO:
Counsel of Record
Defendant, pro se



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